            Case 3:14-cr-03594-BEN                        Document 137              Filed 05/23/16             PageID.508             Page 1 of 9
     ~o 245B (CASD) (Rev. 12111) Judgment in a Criminal Case
                Sheet 1



                                               UNITED STATES DISTRICT COURT
                                                   SOUTHERN DISTRICT OF CALIFORNIA

                     UNITED STATES OF AMERICA                                       JUDGMENT IN A CRIMINAL CASE
                                         v.                                         (For Offenses Committed On or After November I, 1987)

                              CESAR SOTO (4)                                        Case Number: 14CR3594-BEN
                                                                                                                     ~------~~---.
                                                                                    LYNNH.BALL
                                                                                    Defendant's Attorney
    REGISTRATION NO, 48817298

    D                                                                                                                              MAY 232016
    THE DEFENDANT:
     181pleaded guilty to count(s) Is OF THE SUPERSEDING INFORMATION.
                                                                                                                       S U
                                                                                                                             CLERK US DISTRICT COURT
                                                                                                                                                  .               IA

     D     was found guilty on count(s) _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _J.iB:;,Y~=========ll=E=·P=U:'T_Y-,
                                                                                                                                                           , 'r
           after a plea of not guilty.
           Accordingly, the defendant is adjudged guilty of such count(s), which involve the following offense(s):
                                                                                                                                             Count
    Title & Section                           Nature of Offense                                                                             Number(s)
21 USC 846, 841(a)(I)                 CONSPIRACY TO DISTRIBUTE A CONTROLLED SUBSTANCE                                                            Is




        The defendant is sentenced as provided in pages 2 through _ _",,9_ _ of this judgment. The sentence is imposed pursuant
 to the Sentencing Reform Act of 1984.
 D The defendant has been found not guilty on count(s) -------------------------------------
 181 Count(s) UNDERLYING INDICTMENT                                           is 181 areD dismissed on the motion of the United States.
 181 Assessment: $100.00 forthwith or through the Imnate Financial Responsibility Program (IFRP) at the rate of not less than $25.00 per quarter
     during the period of incarceration.



  D Fine waived                                     181    Forfeiture pursuant to order filed _ ___'MA=:cY:....:.12=,~2::;O:..:I~6___'_, included herein.
       IT IS ORDERED that the defendant shall notifY the United States Attorney for this district within 30 days of any change of name, residence,
 or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If ordered to pay restitution, the
 defendant shall notify the court and United States Attorney of any material change in the d        ndant's economic circumstances.




                                                                               UNITED STATES DISTRICT mDGE

                                                                                                                                               14CR3594-BEN
      Case 3:14-cr-03594-BEN                     Document 137           Filed 05/23/16     PageID.509          Page 2 of 9
A0245B (CASD) (Rev. 12/11) Judgment in a Criminal Case
          Sheet 2 - Imprisonment

                                                                                            Judgment - Page _..:2_ of         9
 DEFENDANT: CESAR SOTO (4)
 CASE NUMBER: 14CR3594-BEN
                                                          IMPRISONMENT
         The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a term of
         FORTY-ONE (41) MONTHS.




    o Sentence imposed pursuant to Title 8 USC Section 1326(b).
    181 The court makes the following recommendations to the Bureau of Prisons:
         DEFENDANT BE ALLOWED TO PARTICIPATE IN THE 500-HOUR DRUG TREATMENT PROGRAM.

         DEFENDANT BE INCARCERATED WITHIN THE WESTERN REGION OF THE UNITED STATES.


    o The defendant is remanded to the custody of the United States Marshal.
    o The defendant shall surrender to the United States Marshal for this district:
           Oat                                    Oa.m.    Op.m.        on _ _ _ _ _ _ _ _ _ _ __

               as notified by the United States Marshal.

    o   The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
          o before ----------------------------------------------~---
          o as notified by the United States Marshal.
          o as notified by the Probation or Pretrial Services Office.
                                                             RETURN
I have executed this judgment as follows:

        Defendant delivered on                                                  to

at _ _ _ _ _ _ _ _ _ _ _ _ _ , with a certified copy of this judgment.


                                                                                          UNITED STATES MARSHAL


                                                                   By _ _ _ _~~~~==~~~~~------
                                                                                      DEPUTY UNITED STATES MARSHAL




                                                                                                                   14CR3594-BEN
        Case 3:14-cr-03594-BEN                      Document 137               Filed 05/23/16             PageID.510               Page 3 of 9
AO 2458 (CASD) (Rev. 12/11) Judgment in a Criminal Case
           Sheet 3 - Supervised Release
                                                                                                                 Judgment   Page      3      of        9
DEFENDANT: CESAR SOTO (4)
CASE NUMBER: 14CR3594-BEN
                                                           SUPERVISED RELEASE
Upon release from imprisonment, the defendant shall be on supervised release for a term of:
FIVE (5) YEARS.

         The defendant shall report to the probation office in the district to which the defendant is released within 72 hours of release from
the custody of the Bureau of Prisons.
The defendant shall not commit another federal, state or local crime.
For offenses committed on or after September 13, 1994:
The defendant shall not illegally possess a controlled substance, The defendant shaH refrain from any unlawful use of a controlled
substance. The defendant shall submit to one drug test within IS days of release from imprisonment and at least two periodic drug tests
thereafter as determined by the court. Testing requirements will not exceed submission of more than _4_drug tests per month during
the tenn of supervision, unless otherwise ordered by court.

D The above drug testing condition is suspended, based on the court's determination that the defendant poses a low risk of
       future substance abuse. (Check, if applicable.)

       The defendant shall not possess a firearm, ammunition, destructive device, or any other dangerous weapon.
       The defendant shall cooperate in the collection of a DNA sample from the defendant, pursuant to section 3 of the DNA Analysis
       Backlog Elimination Act of2000, pursuant to 18 USC sections 3563(a)(7) and 3583(d).
       The defendant shall comply with tlie requirements of the Sex Offender Registration and Notification Act (42 V.S.c. § 16901, et seq.) as directed
       by the probation officer, the Bureau of Prisons, or any state sex offender registration agency in which he or she resides, works, is a student, or
       was convicted of a qualifying offense. (Check if applicable.)
D      The defendant shall participate in an approved program for domestic violence. (Check, if applicable.)
          If this judgment imposes a fine or restitution obligation, it is a condition of supervised release that the defendant pay any such fine
or restitution that remains unpaid at the commencement of the term of supervised release in accordance with the Schedule of Payments set
forth in this judgment.
         The defendant must comply with the standard conditions that have been adopted by this court. The defendant shall also comply with
any special conditions imposed.

                                        STANDARD CONDITIONS OF SUPERVISION
  1)    the defendant shall not leave the judicial district without the permission of the court or probation officer;
  2)    the defendant shall report to the probation officer in a manner and frequency directed by the court or probation officer;
  3)    the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer;
  4)    the defendant shall support his or her dependents and meet other family responsibilities;
  5)    the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training, or other
        acceptable reasons;
  6)    the defendant shall notify the probation officer at least ten days prior to any change in residence or employment;
  7)    the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any
        controlled substance or any paraphernalia related to any controlled substances, except as prescribed by a physician;
  8)    the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;
  9)    the defendant shall not associate with any persons engaged in criminal activity and shall not associate with any person convicted of
        a felony, unless granted permission to do so by the probation officer;
 10)    the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit confiscation of any
        contraband observed in plain view of the probation officer;
 11)    the defendant shall notify the probation officer within seventy-two hours ofbeing arrested or questioned by a law enforcement officer;
 12)    the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without the
        permission of the court; and
 13)    as directed by the probation officer, the defendant shall notify third parties of risks that may be occasioned by the defendant's criminal
        record or personal history or characteristics and shall permit the probation officer to make such notifications and to confirm the
        defendant's compliance with such notification requirement.

                                                                                                                                          14CR3594-BEN
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       AO 245B (CASD) (Rev. 12111 Judgment in a Criminal Case
                  Sheet 4 - Special Conditions
                                                                                                         Judgment   Page   ----i..- of _--,9,-_ _
       DEFENDANT: CESAR SOTO (4)
       CASE NUMBER: 14CR3594-BEN




                                             SPECIAL CONDITIONS OF SUPERVISION
~ Submit person, residence, office or vehicle to a search, conducted by a United States Probation Officer at a reasonable time and in a
    reasonable manner, based upon reasonable suspicion of contraband or evidence of a violation of a condition of release; failure to submit to a
    search may be grounds for revocation; the defendant shall warn any other residents that the premises may be subject to searches pursuant to
    this condition.                                                                                                                              ~

]   If deported, excluded, or allowed to voluntarily return to country of origin, not reenter the United States illegally and report to the probation
    officer within 24 hours of any reentry to the United States; supervision waived upon deportation, exclusion or voluntary departure.
]   Not transport, harbor, or assist undocumented aliens.
]   Not associate with undocumented aliens or alien smugglers.
]   Not reenter the United States illegally.
~ Not enter or reside in the Republic of Mexico without written pennission of the Court or probation officer.
~ Report all vehicles owned or operated, or in which you have an interest, to the probation officer.
] Not possess any narcotic drog or controlled substance without a lawful medical prescription.
] Not associate with known users of, smugglers of, Of dealers in narcotics, controlled substances, Of dangerous drugs in any form.
]   Participate in a program of mental health treattnent as directed by the probation officer, take all medications as prescribed by a
    psychiatrist/physician, and not discontinue any medication without pennission. The Court authorizes the release of the presentence report
    and available psychological evaluations to the mental health provider, as approved by the probation officer. Allow for reciprocal release of
    infonnation between the probation officer and the treattnent provider. May be required to contribute to the costs of services rendered in an
    amount to be determined by the probation officer, based on the defendant's ability to pay.
]   Take no medication containing a controlled substance without valid medical prescription, and provide proof of prescription to the probation
    officer, if directed.
]   Provide complete disclosure of personal and business financial records to the probation officer as requested.
]   Be prohibited from opening checking accounts or incurring new credit charges or opening additional lines of credit without approval of the
    probation officer.
]   Seek and maintain full time employment and/or schooling or a combination of both.
~ Resolve all outstanding warrants within           60    days.
]   Complete           hours of community service in a program approved by the probation officer within
]   Reside in a Residential Reentry Center (RRC) as directed by the probation officer for a period of

~ Participate in a program of drog or alcohol abuse treattnent, including urinalysis or sweat patch testing and counseling, as directed by the
    probation officer. Allow for reciprocal release of infonnation between the probation officer and the treattnent provider. Is required to
    contribute to the costs of services rendered in an amount to be determined by the probation officer, based on the defendant's ability to pay.

]




                                                                                                                                      14CR3594-BEl'
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A0245S      Judgment in Criminal Case
            Sheet 5 - Criminal Monetary Penalties

                                                                                                 Judgment - Page _...:5:...-_ of   9
DEFENDANT: CESAR SOTO (4)
CASE NUMBER: 14CR3594-BEN

                                                                   FINE

     The defendant shall pay a fine in the amount of _ _ _ _$:..:2:..:5~0:..:.O~0_ _ _ _unto the United States of America.




         This sum shall be paid __ immediately.
                                 " as follows:


          Forthwith or through the Inmate Financial Responsibility Program (IFRP) at the rate of not less than $25.00 per
          quarter during the period of incarceration.




         The Court has determined that the defendant ~do~e~s_ _ have the ability to pay interest. It is ordered that:

  ~ The interest requirement is waived.


          The interest is modified as follows:




                                                                                                14CR3594-BEN
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   8                         UNITED STATES DISTRICT COURT
   9                       SOUTHERN DISTRICT OF CALIFORNIA
  10   UNITED STATES OF AMERICA,                       Case No. 14cr3594-BEN
  11                       Plaintiff,                  PRELIMINARY ORDER OF
  12          v.                                       CRIMINAL FORFEITURE

  13   CESARSOTO (4),
  14                       Defendant.
  15
  16         WHEREAS, in the Superseding Information in the above-captioned case, the
  17 United States sought forfeiture of all right, title and interest in any and all property of
  18 the above-named Defendant, CESAR SOTO (4) ("Defendant"), pursuant to Title 21,
  19 United States Code, Section 853, which was property constituting, or derived from,
  20 any proceeds the Defendant obtained, directly or indirectly as the result of the felony
  21 offense alleged in the Superseding Information, and any and all property used or
  22 intended to be used in any manner or part to commit and to facilitate the commission
  23 of the violation of Title 21, United States .Code, Sections 841(a)(l) and 846, as
  24 charged in the Superseding Information; and
  25         WHEREAS, on or about February 4, 2016, Defendant pled guilty before
  26 Magistrate Judge Mitchell D. Dembin to Count 1 of the Superseding Information,
  27 which plea included consents to the forfeiture allegations of the Superseding
  28 Information, including forfeiture of the following:
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 '.' ..




          1         a.    Black Black Cobra C22M .22 caliber Derringer Pistol
                          SIN: 057767
          2
                    b.    TwoJ2) rounds with "C" on breach facing and one (1)
          3               roun with "TZZ91" on breach facing; ana
          4         WHEREAS, on March 3, 2016, this Court accepted the guilty plea of
          5 Defendant; and
          6         WHEREAS, by virtue of the facts set forth in the plea agreement and forfeiture
          7 addendum, the United States has established the requisite nexus between the forfeited
          8 properties and the offense; and
          9         WHEREAS, by virtue of said guilty plea, the United States is now entitled to
      10 possession of the above-referenced properties, pursuant to 21 U.S.C. § 853 and Rule
      11      32.2(b) of the Federal Rules ofCrirninal Procedure; and
      12            WHEREAS, pursuant to Rule 32.2(b), the United States having requested the
     13       authority to take custody of the above-referenced properties which were found
     14 forfeitable by the Court; and
     15             WHEREAS, the United States, having submitted the Order herein to the
     16 Defendant through his attorney of record, to review, and no objections having been
     17 received;
     18             Accordingly, IT IS HEREBY ORDERED, ADJUDGED AND DECREED:
      19            1.    Based upon the guilty plea of the Defendant, the United States is hereby
     20 authorized to take custody and control of the following assets, and all right, title and
    21        interest of Defendant CESAR SOTO (4) in the following properties are hereby
    22 forfeited to the United States for disposition in accordance with the law, subject to
    23 the provisions of21 U.S.c. § 853(n):
    24              a.    Black Black Cobra C22M .22 caliber Derringer Pistol
                          SIN: 057767
    25
                    b.    TwoJ2).rounds with "C" on breac~ facing and one (1)
    26                    roun WIth "TZZ91" on breach facmg.
    27              2.    The aforementioned forfeited assets are to be held by the United States
     28 Marshals Service in its secure custody and control.
                                                 -2-                               14cr3594
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       •



   1         3.     Pursuant to Rule 32.2(b) and (c), the United States is hereby authorized
   2 to begin proceedings consistent with any statutory requirements pertaining to
   3 ancillary hearings and rights of third parties. The Court shall conduct ancillary
   4 proceedings as the Court deems appropriate only upon the receipt of timely third
   5 party petitions filed with the Court and served upon the United States. The Court
   6 may determine any petition without the need for further hearings upon the receipt of
   7 the Government's response to any petition. The Court may enter an amended order
   8 without further notice to the parties.
   9         4.     Pursuant to the Attorney General's authority under Section 853(n)(I) of
  10 Title 21, United States Code, Rule 32.2(b)(6), Fed. R. Crim. P., and Rule G(4) of the
  11 Supplemental Rules for Admiralty or Maritime Claims and Asset Forfeiture Actions,
  12 the United States forthwith shall publish for thirty (30) consecutive days on the
  13 Government's forfeiture website, www.forfeiture.goy, notice of this Order, notice of
  14 the United States' intent to dispose of the properties in such manner as the Attorney
  15 General may direct, and notice that any person, other than the Defendant, having or
  16 claiming a legal interest in the above-listed forfeited properties must file a petition
  17 with the Court within thirty (30) days of the final pUblication of notice or of receipt of
  18 actual notice, whichever is earlier.
  19         5.     This notice shall state that the petition shall be for a hearing to
  20 adjudicate the validity of the petitioner's alleged interest in the property, shall be
  21 signed by the petitioner under penalty of perjury, and shall set forth the nature and
  22 extent of the petitioner's right, title or interest in the forfeited property and any
  23 additional facts supporting the petitioner's claim and the relief sought.
  24         6.     The United States may also, to the extent practicable, provide direct
  25 written notice to any person known to have alleged an interest in the properties that
  26 are the subject of the Preliminary Order of Criminal Forfeiture, as a substitute for
  27 published notice as to those persons so notified.
  28 II
                                                  -3-                            14cr3594
Case 3:14-cr-03594-BEN       Document 137     Filed 05/23/16   PageID.516    Page 9 of 9
 ..

      1         7.    Upon adjudication of all third-party interests, this Court will enter an
      2 Amended Order of Forfeiture pursuant to 21 U.S.C. § 853(n) as to the
      3 aforementioned assets, in which all interests will be addressed.
      4         8.    Pursuant to Rule 32.2(b)(4), this Order of Forfeiture shall be made final
      5 as to the Defendant at the time of sentencing and is part of the sentence and included
      6 in the judgment.


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      9
            fj'
            ..sJ /1 'ZO/p
                                         Un' ed States District Judge
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